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         Plaintiff,                                                  11y
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                                                   Jury Trial:Y es -D em anded

   DA N IEL L .C O N N ,PR E SID EN T A N D C EO ,
   D R.D A V ID J.R ED D IC K ,R EG IO N A L M ED IC A L DIR E CT O R ,
   DR .SEY ED H O SSEIN I,C H IE F H EA LTH O FFIC ER ,S.F.R .C .,
   D R .C A RL BA LM IR ,C H IE F H E AL TH O FFIC ER ,E .C .I.,
   DR.DOR A G AX IO LA ,CHIEF H EA LTH OFFICER,E.C .l.,
   M A RIA LO U ISSA IN T ,A .R .N .P.,E .C .l.,
   D R .O SC A R O RT EG A ,M E D IC A L D O C T O R ,E .C .I.,
          Defendants.
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   1.   T he Parties to T his C om plaint
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                  D efendant N o.4
                        CarlBalm ir

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                     H .zauieek e,AzoyzA 5n o5
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                  Sued in his Individualcapacity
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       II.       Basis For Jurisdiction

                 Under 42 USC j l983, you may sue state or local officials for the
      ikdeprivation of any rights,privileges, or im m unities secured by the Constitution

      and gFederal lawsl.''Under Bivens v.Six Unknown Named Agents of Federal
      Bttreau ofNarcotics,403 U.S.388 (1971),you may sue Federalofficials forthe
      violation ofcertain constitutionalrights.
             '
             In the instant case, over l00 8th Am endm ent Federal Constitutional

      violationstook place by seven defendants over a four year period of tim e, w here

      the Defendants knew the substantialrisk ofhann thatthey putthe Plaintiff in by

      theiractions;ignored thatknow ledge and acted regardless ofthe danger;and the

      Plaintiffsufferedextremeinjuryandpain.
         A.ThePlaintiffisbringing suitagainststateorlocaloffcials(a j 1983claim)
         B. D efendants deprived the Plaintiff of his U SC A constitutional Eighth

             Am endm entrightto receive m edicaltreatm entforhis serious m edicalneeds.

             This right is guaranteed regardless of cost.The D efendants knew about

             Plaintiff s serious m edical needs to be treated for Hepatitis-c , as w ell as

             Diabetic N europathy.They also knew thatby theirfailure to adequately treat

             these serious m edicalneeds,thatthey putthe Plaintiffatan unnecessary risk

             ofharm ;and yet,they ignored thatrisk;and the Plaintiff needlessly suffered

             injury and pain.Any treatmentreceived was so inadequate asto constitute
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         no treatm ent.The Defendants in essencecaused PlaintiffM alik the federally

         forbidden crueland unusualpunishmentforover fouryears by causing him

         to suffer severe to m oderate pain almost daily for m uch of that tim e,

         unnecessarily in that adequate treatm ent was easily available that would

         have eliminated thatpain.

     C.Allseven (7)Defendantsweregovernmentalentities, em ployees or officials
         working directly for Florida Departm ent of Corrections, or as one of its

         agents;licensed by Florida;ora Supervisorofthe same licensed by a State

        offce.Each ofthe D efendants,underthe scope oftheirem ploym entacted

        undercolorofstate orlocallaw .

  111. Prisoner's status is thatofa convicted and sentenced state prisoner.

  IV . Statem entofC laim

     A.The events of this claim arose at Everglades Correctional lnstitution The
                                                                             .




  case F as ongoing and occurred betw een January 2010 through O ctober l7,2014.

     B. W exford H ealth Services, Inc., during the tim e period specised in this

  lawsuit,wasoperated by Presidentand CEO ,D anielL Conn.The com pany'srules
                                                      .




  and policieswere the responsibility ofConn to change, im plem ent,and/orcondone

  in theirexisting state.

        A s its president, Conn w as, in essence, W exford, and vice versa. In this

  lawsuit,they each have the sam e connections to the unconstitutionalviolations

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   stated herein.Conn and W exford are often nam ed as the sam e entity, with each

   nam e equivalentto the other.The only thing this is untrue to, is:Conn being sued

  in his Supervisory capacity,notW exford.

        This 1983 lawsuitisbased on:

     1) The supervisory liability of CEO Conn in his Supervisory capacity, for
     implementing or condoning an already existing policy intended to save

     W exford and D.O.C.money (a cost-saving policy)regardless of whetherthe
     m ethods used to save violate state prisoners' federal constitutional rights. ln

     that President and CEO Conn was the principal for which a1l W exford

     personnelw ere either em ployed oragents of, he knew that,in valuing theirow n

     individualjobs,as to being dismissed orreprimanded fornoncompliance;his
     subordinates w ould act unlaw fully, if necessary, to conform to C onn's Cost-

     Saying Policy;and Conn failed to stop them from doing so. Furthenuore,C EO

     Conn encouraged his subordinates to do so,by implem enting or authorizing a

     cost-saving rew ard aim ed at rew arding subordinate m edical participants a

     percentage of operating expenses saved,irregardless of w hether the m ethods

     used to save operating costsw ere unlaw ful.

        In the instance ofPlaintiff M alik,the practice w as so w idespread during this

     period oftime,throughoutW exford'scontractedterritory (Region IV),thatone
     of his D efendants, D r. Seyed H osseini, saved Y/exford and FD OC enough
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          money in 2012-2013 (3.9 million dollars) to rate public recognition on the
         internet,ofhis rew ard and personalachievem ent.

             W hatis relevantto thiseventisthatsom e ofthis earned reward, w hich w as

         w idespread throughout W exford's m edically operated prison structure, for

         many differentparticipants (even Dr.Hosseini),wasreceived using ill-gotten
         and unlawful m ethods to reduce cost of m edical treatm ent and m edication;

         injuring prisoners (such as M alik) in the process of saving. Especially in
         concern here,even though the issues were very widespread, are those m edical

         staffthatattended to the m edicalneedsofPlaintiffM alik and otherprisoners at

         Everglades C .I.

            W hat also is relevant is the fact that President and CEO Conn knew or

         should have know n the m ethod entailed in the costsaving, butfailed to stop any

         unlaw ful practice.The unlawfulm ethods happened m any tim es over, in the

         tim e fram e of this law suit.ltw ould be highly erroneous to think thata m an, as

         powerfuland knowing as CEO Conn (W exford's president),would setup or
         condone a cost saving policy;encouraged by rewards to successful m edical

         staff, that saved W exford and D .O .C . operating expenses'
                                                                    , that w ould then

         authorize a rew ard to a participant in the program , w ithout a full disclosure of

         whattook place to entitle the person to thepaymentreceived CEO Conn knew
                                                                        .



         of the unlaw ful practices öf m edical personnel, supervised by him or his
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      immediate subordinate (Dr.Reddick),to earn rewards, even though som etim es
      itwas afterthe fact;and he could have easily puta stop to those practices but
                                                                               ,


      hedid not.

         Notknow ing,though,untilafter the fact is irrelevant lt is evident,in his
                                                               .




      life,thatthe CEO Conn isa very com m anding individual, apparentby the office

      he holdsatW exford.ltisalso evidentthatin hisposition asPresidentand CEO ,

      Conn'sauthority isovershadow ed by no one  .




        Therefore, finding unlawful practices used as a basis to save m edical

     expenditures,afterthe factofthe unlawfulm ethodsused, stillputs Conn atfault

     and liable forthe unlawfulconditionsinstilled by those practices Even finding
                                                                     .




     outthosehappeningsafterthe fact,justonememo oroneverbalorderto make
     such methods cease,dem anded by CEO Conn,w ould have caused such impact

     to medical staff, for fear of losing their jobs,because of disobedience to
     PresidentC onn'scom m ands,that any w rong doing w ould have stopped.

        lnstead,know ing after the fact of w idespread abuse,as w ell as som etim es

     before ithappened,PresidentConn never once said,ésM ake thisw rong doing, to

     save operating expenses,cease to exist,'' or som e other paraphrase sim ilar in

     meaning;or ifhe had,Conn never enforced his words.lfhe had,a11unlawful

     and wrong doing w ould have stopped im m ediately,ratherthan happening over
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      andoveragainthroughoutFDOC'Sprisonpopulation,(such as to Plaintiff

      M alik).
         There can be no reason to excuse the am ount of torturous suffering of

      injuries,pain,and mentalanguish caused to medicalprisoners (like M alik)in
      this w idespread affected area,and tim e fram e; and to so m any individuals;al1

      brought about by Conn's failure to stop unlaw ful practices that he knew

      occurred. Every violation       com m itted by the Defendants that caused the

      Plaintiffpain and injurybecauseofinadequate medicaltreatment(listed in this
      suit)isatleastpartially dueto Conn'scost-saving policy.
      2)Dr.David J.Reddiek isadefendantin thislawsuit,and isbeing sued in his

       individual capacity for injuries and pain,as well as mentalangtlish,caused
       PlaintiffM alik by Dr.Reddick's unlawfulpractices.DefendantReddick m ight

       also be sued in his supervisory capacity,as w ell.

          Dr.David J.Reddick wasdirectly em ployed by CEO Conn,as W exford's

       RegionalM edicalDirectorofRegion lV,to essentially supervise and controla11

       the majormedicaltreatmentand medicationsthroughoutRegion 1V,including
       Everglades C.I.Dr.Reddick'sduties,outlined by the scope ofhisemploym ent,

       w ere to enforce W exford's rules and policies,including,butnot lim ited to his,
                                                                       .




       oràissubordinatesapprovingand disapprovingofmedicaltreatmentand drugs.



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         H is decisions to approve or disapprove m edical services should have been

      dependanton whetherthe treatm entor medication was sufficientin controlling

      w hatever circum stances it was dealing with. Often, though, because of

      Defendant Reddick's willingness to overlook what he knew in his m ind and

      heart to be right; he gave in to D efendant Conn's urging and encouragem ent

      towards W exford's cost-saving policy,irregardless of the consequences;and

      prisoners(like PlaintiffM alik)suffered injury and painby hisactions.M edical
      treatment and m edication w as approved or disapproved, not by whether it

      worked, or what worked best; but it w as approved or disapproved by Dr.

       Reddick and hismedicalstaff(in accordanceto W exford'scost-saving policy),
      by whatever m edical treatm ent or medication was the least expensive,

      regardless of the consequence of its use, or the m atter for w hich         W aS

       determ ined.

          Dr.Reddick had an ongoing responsibility to answerto Conn periodically

       aboutW exford's m edicalexpenses,and accountfor any excessive spending for

       medicalservices rendered,thatresulted in a financialcostover-and-above the

       allotted budget.Because any large am ountoffailure to keep W exford'smedical

       budgetcontained,within itself,instillsskepticism asto Reddick'scapabilities,it

       is apparent by the R egional M edicalD irector's actions,thathe w as w illing to

       go to extremes;even so far as violating prisoners'(such as M alik's) Eighth

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      A m endm ent constitutional m edical rights,in order to stay w ithin the budget's

      perimeter. Valuing his position as regional m edical director, Dr.Reddick's

      regard forConn'scost-saving policy washeld in the highestesteem .

         The enforcing of D efendant Conn's policies by D efendant Reddick w as so

      widespread as to cause many injuries and much suffering to prisoners,
      particularly the cost-saving policy as it affected the Plaintiff.Because of the

      unconstitutionalprovisions ofthis policy,in w hich D r.Reddick w asresponsible

      forthe approving ordisapproving ofm edicaltreatm entand drugs requested by

      Plaintiff M alik's attending physicians for his personal use, the Plaintiff

      underwentan immeasurableamountofinjuries,pain,and mentalanguish daily,
      w hile seeking reliefover 100 tim es from licensed m edicalstaff.M alik wentto

       m edicalover 100 tim es in the fouryearsretlected in thislaw suit.Each tim e he

       sought relief for his serious m edical needs and pain,that he was forced to

       endure for m uch longer than only these days thatM alik saw m edicalstaff,w ith

       someofhispainsand injuriescaused byDr.Reddick'sactions.
          Asmuch ashalfofthe time the Plaintiffsuffered (ormore),itwasbecause
       of the actions of Dr.Reddick and/or his subordinates of medicalstaff (one
       being Dr.Hosseini)thatunlawfully approved and disapproved M alik's drug
       and treatm entexception requests from m edicalpractitioners at Everglades C.l.,




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      by unconstitutional cost saving practices that caused injury or failed to
      overcometheinjury itwasmeanttocure.(W exford'scost-savingpolicy)
         D r.Reddick is being sued for the sufferings his actions caused,because his

      fram e ofm ind in know ing,through his ow n pastm edicalexperience,thatthose

      actionswould cause injury and pain.Notonly did Dr.Reddick catlsesuffering
      in his actions, but he supervised his subordinates in such a way that they

      unlawfully caused thePlaintiffinjury and pain,with DefendantReddick failing
      to stop the unconstitutional practices that he knew beforehand by his ow n

      doings;m aking him partially responsibleto M alik.

         ln valuing theirm edicalposition,Dr.Reddick supervised hissubordinatesin

      such a w ay as to show a threatto m edicalstaffthatfailed to conforln to Conn's

      cost-saving policy.Thethreatoflosing one'sjob,whetherrealorascaretactic,
       along w ith Conn's cost-saving reward program sufficiently supports an

       inferencethatDr.Reddick directed his subordinatesto actunlawfully and failed

       to stop them from doing so.Drug Exception Requests also show his unlawful

       effortsto save W exford m oney atPlaintiffM ailk'ssuffering.

       3)W hatis significantto this claim isthatthe cause againstthe fivedefendants,
       that acted as agents of W exford,is ongoing for approxim ately four,years,w ith

       threeoftheGveinstrumentalinthehappeningsinthemajorityoftheclaim.
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         Dr. Hosseini, Dr. Balm ir, Dr. O rtega, Dr. G axiola, and A RNP

      Louissaint are allbeing sued in their individualcapacity; with the exception

      thatDr.Balm irbeing theChiefHealth O fficeratEvergladesC.l.form ostofthe

      claim ,could also be sued in hissupervisory capacity.

         Dr.Seyed H osseini is being sued for his unlaw ful and unconstitutional

      actions,as a Chief Health Officer at South Florida Reception Center, where

      Drug Exception Requests,from practitionersatEvergladesC.l.,are approved or

      disapproved.Defendant Hosseinitook part in this process and/or had others

      take partforhim or in his behalf,where unlawfuland unconstitutionalactions

      took place as a m eans to save m oney,conform ing to CEO Conn's cost-saving

      policy;making the cost saving initiative so as to succeed in receiving a cost

      saving reward,attheexpense thatcaused the Plaintiffnew injury and pain,or

      aggravated injury andpainto already existing suffering.
          Both Dr.Reddick and Dr.Hosseiniwere told various drug and treatm ent,

      they each approved for the Plaintiff,did notwork in controlling N europathy

       sym ptom s and pain,thatPlaintiff M alik suffered.Both w ere told by either D r.

       B alm ir, D r. O rtega, or A R N P Louissaint several tim es or m ore, but both

       persisted in disapproving the m ore expensive treatm entand drug thatw orked to

       controlPlaintiffsinjury and pain;and approving the leastexpensive treatment



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      and m edications that did not work to control Plaintiff s m edical dilem m a;and

      that,often times,madehisinjuryand pain worse.
         lnexpensive drugs thatdid notwork orthatworked a little,were approved

      by Dr.Reddick and Dr.H osseinifor long periods ofthree,six,or nine m onths

      at a tim e to conform to C EO Conn's cost saving plan.Tw o such drugs are

      Elaviland N aproxin to controlneuropathy symptom sand pain,instead oftheir

      more expensiveNeurontin and Ultrom counterpartsthatdid a much betterjob
      of controlling neuropathy sym ptom s and the pain associated w ith it; even

      elim inating Plaintiff M alik's suffering in m ost cases.The difference in Dr.

      Reddick's actions,and thatofDr.Hosseiniwere insignificantin thatthey acted

      alike in their Eighth A mendmentconstitutionalviolation;except for the fact

      thatDr.Reddick acted in his individualstate and his supervisory state,while

       Dr.Hosseinicommitted hisunlawfulactionsunderhisown accord (individual

       capacity).
          Plaintiff M alik sues D efendants Balm ir,G axiola,O rtega,and Louissaint

       in their individualcapacity claim ing they were each deliberately indifferentto

       hisserious m edicalneeds by intentionally and m aliciously denying him proper

       m edical care and treatm ent for his Hepatitis-c , and D iabetic N europathy.

       D efendants' actions violate civilized standards of decency and involves the

       unnecessary and wanton intliction ofpain.

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         The Defendants acted with a reckless disregard to a substantial risk of

      serious harm to the Plaintiff,in theirtreatm entofhis known Neuropathy;and

      their non-treatm ent of his know n H epatitis-c .ln that, even laypersons know

      that H epatitis-c is life threatening; and that N europathy, w hich attacks the

      lim bs, as wellas hands and feetcan be very painful'
                                                         A even a l
                                                                  am erson would

      haverecognizedthenecessity foradoctor'sattention (oradequatetreatment).
         The D efendants knew that Plaintiff M alik w as in serious m edical need of

      treatm ent for his Hepatitis-c, but they failed or refused to obtain m edical

      treatm entatEvergladesC.l.,orsend him to a facility where the Plaintiffwould

      be treated.They knew thattheir treatm entofN europathy was inferior to the

      treatm ent needed, and the harm that the Plaintiff would be caused by their

      individualactions;and yet,they each intentionally chose to treatthe Plaintiff

      w ith inadequate treatm ent. They knew by their actions that Plaintiff M alik

       would sufferinjury and pain,and they ignored theirknowing and treated the
       Plaintiff with an inferior treatm ent that they positively knew would cause

       suffering to PlaintiffM alik.

          W hatiseven worse though isthatthe treatm entthatthe Plaintiffneeded,but

       w as denied,w as done for non-m edical reasons. M alik w as denied m edication

       and treatm entbecause ofcost;w ith w anton disregard for the fact tllatthe m ore




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      expensive medical treatm ent worked, while the least expensive did not in

      dealing with the Plaintiffsseriousm edicalneed.

         Furthermore,PlaintiffM alik wasdenied allofhisseriousm edicalneed to be

      treàted for H epatitis-c before itbecame life threatening.To com ply to CEO

      Conn's cost-saving policy, he was nottreated.Plaintifps Hepatitis-c required

      medicaltreatmentthathedid notgetand becauseofthat,he sufferedinjuryand
      pain needlessly from its sym ptom s. Constipation w as one of m any painful

      ongoing Hepatitis-c symptomsthathesuffered,aswellasjointpains.
       C.DATES A ND FA CTS

            The dates and facts are listed per individual Defendant starting with

    Presidentand C EO Conn.

                                 a)DanielL.Conn.CEO
             DefendantConn isbeing sued in his Supervisory capacity.

                                        (CO UNT 1)
                                    C ost-saving Policy

       2.      A s the President and Chief Executive O fficer of W exford H ealth

             Services lnc., David L. Conn was responsible for the operation and

             m edical m anagem ent of services provided to Florida D epartm ent of

             Corrections'R egion 1V ,prison m edicalfacilities.
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      3.      ln his position,Defendant Conn im plem ented,changed,or condoned

            already existing policies to govel'n the actions ofhis subordinates in the

            treatm entofthe prison population thatthey represented medically.

      4.      PresidentConn oversaw the widespread ordering and issuing ofmedical

            services by setting up guidelines that he expected W exford's em ployees

            and agentsto abide by,even though som e ofhis directives were unlaw ful

            and/orunconstitutional.

              CEO Conn's actionts)were responsible for the manner in which the
            medicalfacilityatEvergladesC.1.wasoperated(thelnstitutionthathoused

            PlaintiffM alik).
              His actions, alone,w ere so widespread as to affect every m edically

            treated prison inmate in FDOC'S Region IV (literally thousands upon

            thousandsofpeople);and did.
       7.     W hen W exford w on the contractas FD O C 'S m edicalservel'for Region

            lV,Conn condoned a cost-saving policy.ltwas widespread among every

            m edicalprison facility in the Region and w as placed in effectbefore the

            date(January,2010)forwhich the violationsofthislawsuitarealleged as
            occuning.(starting date)
       8.     A t approxim ately the sam e tim e as the cost-saving policy started,

            DefendantC onn also introduced an incentive program aim ed atrew arding

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             hismedicalstaffm onetary paym entforsucceeding in saving W exford and

             D.O .C.the costofdoing business.

      9.       Conn'sgoalw asto operate W exford'sm edicalservice in such a w ay as

             to m ake m oney.ln orderto do thatConn concluded thatW exford's costof

             doing businesshad to be low enough to conform to thereduced price ofhis

             bid,and stillmaintain the adequate medicalstandardsexpected ofhim .

      10.      Under norm al circum stances this m ight have been possible with

             W exford guaranteeing adequate m edical treatm ent and still making

             prost.

       ll.     How ever,with the everrising costof m edicalstaffand treatm ent,and

             the fact that Conn gave the lowest possible bid to secure winning the

             contract, some of the areas of the contract would receive the barest of

             m inim alhealth care services ornone atall,m uch to C onn's acceptance and

             condonem ent.

       12.     Hepatitis-c isonesuch need thatreceived very little fundsto treatprison

             inm ates like the Plaintiff.Hism edicalrecordsshow thatthe entire,alm ost,

             five years addressed in this lawsuit,his Defendants,a1leven Conn,knew

             thatPlaintiffM alik had H epatitis-c ,and notonce w ashe ever treated forit

             atEvergladesC.l.,norsentto any otherfacility (prison orotherwise)to be
             treated forthis life threatening disease.
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      13:      Conn found itimpossible to m eetthe high m edicalstandardsofensuring

             adequate medicalcare atapricethatW exford could afford and stillm ake a

             proft,so he utilized hiscost-saving policy in such a way thatoften,by his

             authoritative directions,prisoners,such asM alik,suffered pain and injury
             needlessly,exceptforhispolicy.
      l4.      W hatthe cost-saving policy,on the m ostpart,entailed,is evident in the

             instantcase,butwas widespread throughout allof Region IV and m any,

             many inmateswereinjured and suffered pain underthe same bosses,even
             though differentissues.

       15.     A serious m edical need w ould suffice, like w ith the Plaintiff; and a

             practitionerw ould tend to theindividual;and suggestatreatm entplan.

       16.     In Plaintiff M alik's case,he show ed sym ptom s of Hepatitis-c,but no

             treatm entplan wasever suggested by the m edicalstaff treating him orby

             the Regional D irector, Dr. R eddick, even though m any tim es he w as

             advised thatthe Plaintiffhad the Hepatitis-c virus.

       17.      ln thatH epatitis-c treatm entw asvery expensiveto treatand control,it

             would be a mistake to think thatwhen Dr.Reddick found outone ofthe

             prison population that he m edically reigned over had H epatitis-c that he

             did notinform his boss,D efendantC onn,im m ediately.




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      18.       Conn'scost-saving policy would notperm itthe PlaintifpsHepatitis-c to

              be treated.The costofdoing so w as so counterproductive and prohibitive

              tow ards saving m oney.

                Dr.R eddick was advised thatthe Plaintiff had H epatitis-c: four tim es

              in 2010,2/15/l0,6/l7/10,6/18/10,and 6/24/10;two in 20l1,01/11/11 and

              04/07/11; at least once in 2012, retlected on Specialist Consultation

              Requestdated 3/15/12 thatw as disapproved by D r.Reddick;five tim es in

              2013,w ith D rug Exception Requests to R eddick 0 1/04/13 and 02/12/13,

              and D .E.R.'S to Hosseinion 03/08/13,05/31/13 and 06/07/13,allnoting

              thefactthatM alik (theindividualforwhich practitionerssoughttreatment)
              had HCV orHepatitis-c-h;2014,atleastone time on 04/10/14.

      20.       W ith Dr.Reddick being advised ofthePlaintiffsH epatitis-c condition,

              it would be erroneous to think that Defendant Conn did notknow that

              M alik's H C V condition needed treatm ent,but because of costinvolved in

              treating Hepatitis-c,the Plaintiff was never once, in the entire tim e in

              which he w as housed at Everglades C.l.,received treatm ent forthis life

              threatening disease,nor did any other inm ate,attested to by D r.O rtega's

              assertion on august18,2014.

       2 l.      D efendant Conn knew about Plaintiff s com plaints of sym ptom s and

              pain that could have very easily been attributed to H epatitis-c , that

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          required treatm ent, but because of the extrem e expense of treating the

          disease,Conn purposely ignored his knowledge ofthe substantial serious

          harm heputPlaintiffM alik (and many,manyotherinmateswith Hepatitis-
          C throughoutRegion lV)in and denied him HCV treatmentatEverglades
          C.I. or transfer him to another institution within Region IV to obtain

          treatm ent.

             The reason could only have been,thatbecause ofW exford's cost-saving

          policy,and theprohibitive costoftreating Hepatitis-c;the disease was not

           adequately or properly treated at any of W exford's m edically operated

           facilities'
                     ,m eaning thatthe issue oftreating Hepatitis-c w ith an adequate

           treatm ent plan was slim -to-none,at best,and the disease,which was so

           widespread throughoutthe region,wentuntreated ortreated with m inimal

           insufscient health care,with many inmates (like the Plaintifg needing
           Hepatitis-c treatm ent,and suffering harm by notreceiving it.

             Every complaintin this lawsuitcan be classified as Hepatitis-c related,

           when dealing with neuropathy symptomsand pain.M any oftheinjuriesof
           Hepatitis-c are similar,ifnotthe same as neuropathy injuries,including'
                                                                                 .
           rashes,constipation,pain injoints,lowerlimb edema,andpainelsewhere.




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                                      b)Dr.Reddick

                                       (COUNT lI)
                                    CostSaving A ctions

      24.      Conn'scost-saving policy w asso dem anded by W exford'sPresidentand

            CEO ,thatoften tim es Conn knew beforehand,thatto comply to his nlle,

             subordinate Dr. Reddick and D r. Hosseini would m ake illegal and/or

             unlaw ful decisions as to w hat m edical treatm ents and m edicines to treat

             inmates(including the Plaintifg,by theircostand notby theirefficiencies
             in treating the m edical situation,yet he failed to stop the constitutional

             violationsand inmates(such asM alik)needlessly suffered.
      25.      In particular,the foregoing shows various instances where Dr.Reddick

             knew that a particular drug or treatm ent worked well in controlling a

             m edical situation,m uch better than another drug categorized as treatm ent

             for the same problem (which in essence worked very little, if any to

             overcome the medicalneed),butbecause Conn'scost-saving policy,Dr.
             Reddick disapproved the more expensive treatmentthatworked in favorof

             approving the less expensive treatm entthat did notw ork,as a m eans to

             save W exford and D .O.C.the costofdoing m edicalbusiness.

       26.      Thishappened often,and thePlaintiffsuffered injury,pain,and mental
             anguish,so listed in the follow ing w ith the show ing thatD r.R eddick knew

             beforehand that the m ore expensive treatm ent and drug w orked m uch
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             better that the least expensive; and so show n by past records, before

             violations occurred.

      27.      Furthermore, w orking treatm ent and drugs that were snubbed, so that

             unlawful and/or unconstitutional treatments could be used, for the sole

             pup ose of saving money,were reinstated after long uses of inadequate

             m edicalservices caused the Plaintiff severe pain and sufferings,m uch of

             w hich wasunnecessary,exceptforConn'sneed to savem oney.

      28.      ln thatthe treatm entsthatw orked were m uch m ore expensive to Conn's

             cost-saving policy,and Dr.Reddick,reporting to the CEO any eventthat

             jeopardized thatpolicy,itisevidentthatPresidentConn knew when the
             costfactorofhiscostofdoing businesswaslopsided to hisexpectationsof

             inexpensive drugsand treatm ent;which led to greaterdem andsto save.

      29.       From 08/21/09 to 04/30/10,Dr.Reddick approved a treatm entplan and

             drug forPlaintiffM alik thatcontrolled hisneuropathy symptoms and pain.

             The treatmentconsisted oftreating the Plaintifftwice a day (BID = am +
             pm),with the very expensive drug (in comparison to other neuropathy
             drugs)Neurontin300 mg.Neurontin BlD daily $1.66/Elavildaily$1.00.
       30.      The Plaintiff s past m edical records for 20l0, from January through

              April 30tb clearly show that M alik only w ent to m edical one tim e for

              neuropathy sym ptom s and pain and thatw asJanuary 14,2010.

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      31.      Furtherrecordsshow thataftertheN eurontin stopped on 4-30-2010,the

            Plaintiffwentto medicalcomplaining ofneuropathy injuries and serious
            pain on 5/3/10 and 6/17/10.

      32.      W hat is also apparent, by the record, is that on 6/17/10 ARNP

            Louissaint requested treatm ent of N eurontin 300 mg (twice daily)forthe

             Plaintiff, to be taken from 06/18/2010 through 01/15/2011. lt was

             disapproved by Reddick, even with Louissaint stating that she w as

             requesting N eurontin because it w orked to control Plaintiff's neuropathy.

             H isadvice to the situation was to try Elavil.Elavildid notwork to control

             Plaintiff sneuropathy,norpain,and the Plaintiffsuffered needlessly.

      33.      O n 06-18-2010,ARN P Louissaintrequested Elavil,per D r.Reddick's

             suggestion itwasapproved butnotreceived.

               Then on 06-24-2010,Elavilwas requested again for the Plaintiff;to be

             taken from 6/24/10 through 01/22/2011; in com pliance to Conn's cost-

             saving policy.
       35.     This w as a treatm entplan thatw ould occur,w ith M alik taking 50 m g of

             the much less expensive Elavildrug,thatdid notw ork nearly as w ellas

             N eurontin taken tw ice daily.B ecause ofthishe suffered greatly.

       36.      The pastrecord clearly show s this assertion,in thatthe Plaintiffw entto

             m edical eleven tim es in the next eight m onths for neuropathy related

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          symptoms,injuriesand pain demonstrated by the following days:7/2/10,
          7/6/10,7/8/10,8/5/10,8/2/10,8/23/10,à/l1/10,9/3/10,9/19/l0,10/25/10
            and 12/1/10.

               For an equivalent amountof time (approximately 8 months),while
            taking Neurontin tw ice daily,PlaintiffM alik wentto medicalonce forthe

             same purpose ofneuropathy injuriesand pain.Hewentto medicalforthe
             sam e or sim ilar conditions, while using the less expensive Elavil once

             daily,eleven times,in which Elavilnevercontrolled thepain and injuries
             thatNeurontin did.Daily use ofElavilcostapproxim ately $1.00 for50 m g,

             and did notwork to controlPlaintiffs neuropathy.ln fact,M alik suffered

             severe to m oderate pain alm ostdaily during thattim e.

      382      From 0l-11-1l,when the new Elavilprescription was approved by Dr.

             Reddick, even know ing that it was inferior to N eurontin twice daily;

             through to his approved date of 11/5/11, Plaintiff M alik took the less

             expensiveElavil,onceaday (50mg).
       39.      His medicalrecordsplainly show thatthe Plaintiffw entto m edicalfor

             neuropathy injuriesandpain leftuncontrolled,8timesin 20l1,
                                                                      'going only
             when the continualinjuries and pain associated with neuropathy caused
             him to sufferm ore than hecould bear.



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      40.      ln 20l1 Plaintiff w entto m edicalcom plaining about neuropathy related

             injuries and pain on 01/06/1l,04/06/11s05/03/1ls06/14/1l,08/01/1l,
             l0/08/11,10/28/11,and l0/3l/l1.

      4 1.     On 10/28/11,ARN P Louissainttsled a Drug Exception Requestasking

             forNeurontin 300 m g,stating on the D.E.R.form thatElavildid notwork

             in controlling Plaintiffs neuropathy. Reddick disapproved the request

             stating try Elavil.

      42.      On 11-2-11 Elavilwas approved by Dr.Reddick,when requested from

             ARNP Louissaint until 5-31-12, but the Plaintiff refused this treatm ent

             plan and drug.He had already refused the sam e Elaviltreatmentplan on

             9/14/2011 for the duration of the prescription because the m edicine did

             verylittleto controlhisinjuriesandpain.
      43.      After talking to Dr.Reddick aboutthe Plaintiffs (BlD) treatment of
             Neurontin 300 m g twice daily being costprohibitive to Conn'scost-saving

             policy; Dr. Balm ir inform ed the Plaintiff that if he confrm ed to Dr.

             ReddickthatElavildidnotworkto controlthePlaintiffsinjuriesandpain;
             and ifhe w as w illing to cutthe B lD neuropathy treatm ent ofN eurontin by

             half(ortake thesingle dose daily so asto deferthe costofB1D),then Dr.
             Reddick would approve Neurontin.



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     44.      PlaintiffM alik has diabetic neuropathy,for which there is no cure for,

            butthere is treatm entthatw illslow progressofthe disease;relieve pain;

            manage complicationsand restore functions.

      45.     There are severalm edicines used to controlneuropathy and pain,butnot

            every m edicine worksforevery individual.

      46.     Anti-seizure medieations (like Neurontin,which can be administered
            safely up to 1800 mg daily)areprescribed and work to relievenervepain
            forsom e individualsw ith severe neuropathy pain.

            Antidepressants (such asElavill;an amitriplyline,may providerelieffor
            m ild to m oderate neuropathy symptom s and pain,buthasvery little effect

            on the Plaintifps severe case ofchronic neuropathy.

      47. On 11/28/11,Dr.Balmir requested Neurontin once a day (300 mg),

             cutting the dosage known to work in half;and stated that Elavil did not

             w ork to control the Plaintiff s severe neuropathy. The D rug Exception

             Requestw as approved by Dr.Reddick until 1/24/12;and the single dose

             daily ofNeurontin saved W exford and DOC even m ore m oney,underthe

             costofElavil,in thata single 50 m g dose of Elavildaily costaboutone

             dollar,w ith a single 300 m g dose ofN eurontin daily costonly 83 cents.

       48.     O n 1/23/12,when ARNP Louissaintrequested a renewed prescription of

             N eurontin under the sam e conditions as previously requested by D r.

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            Balmir,Dr.Reddick approved the requestfora single dose (300 mg)of
            Neurontin daily,good through 3/23/12.

      49.     This method of requesting 300 m g daily ofNeurontin to treat Plaintiff

            M alik, worked again for Dr. Balm ir, when he applied for a renewed

            prescription again on 4/30/12, good through 11/27/12. H ow ever, the

            review ofthe Plaintiff s medicalrecords clearly showed Dr.Reddick that

            even with Neurontin,the single dose of300 m g daily stillcaused Plaintiff

             M alik unnecessary neuropathy injuries and severe pain.The cutting of
             treatm entknow to work,from two dosesto one,stillcaused the Plaintiffto

             suffer needlessly,except for W exford and/or DOC,to save the cost of

             doing m edical business. R eddick knew that he w as violating M alik's

             constitutionalEighth Amendmentrightto be adequately treated;chose to

             ignorethatknowledge;andthePlaintiffwasseverely injured overandover

             again.
       50.     On 6/14/12, M aria Louissaint, ARNP, convinced Dr. Reddick that

             althoughhisactionsofapprovingonlyasingledoseofNeurontin (300 mg)
             daily saved the costof doing W exford's m edicalbusiness;italso caused

             the Plaintiffunbearable neuropathy pain and injury:suffering caused by
             the single dose of a m edication m eantto be taken both a.m .and p.m .,in .

             that it loses half of its strength and power w ithin tsve-seven hours after

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            taken.Having convinced Dr.Reddick of this fact by Plaintiff s m edical

            records,Dr.Reddick approved Neurontin 300 mg,BlD (a.m .+ p.m .)on

            6/14/12.
      5l.      The medicalrecord from January 01,2012 through June 14,2012 w ill

            show that the Plaintiff w ent to m edical eleven tim es for neuropathy

                      . 01/09/12, 01/19/12, 01/26/12, 01/27/12, 02/03/12, 02/06/12,
            conditions'
            03/15/12, 03/20/12, 04/20/12, 04/22/12, and 05/31/12. Dr. Reddick's

             efforts to conform to C onn's cost-saving policy inadvedently caused

             PlaintiffM alik unnecessary suffering thatcould have easily been avoided;

             pain and injury thatDefendantReddick knew would occurfrom hisown
             experience and M alik's pastm edicalhistory,yethe ignored that factand

             purposely acted in such away asto cause thePlaintiffharm .

      52.      ltwould be inconceivable to think that,even Dr.Reddick,would take it

             upon him self, to violate Plaintiff s constitutional rights to having his

             serious m edical need m et,w ithout discussing it with CEO Conn before

             com m itting the unlaw fulact.

       53.     D efendantConn knew thatdenying M alik Neurontin tw ice daily would

             be unlaw ful and he did not bother to stop D r. R eddick's actions, but

             encouraged him instead to violate Plaintiff sConstitutionalrights.




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              The Plaintiffs approved N eurontin m edicine was short lived and

            stopped on 7/31/12,only to startback up on 8/17/12,after M alik suffered

            neuropathy conditionsand pain on 8/2/12 and 8/13/12.

      55.     W hile on the double dose ofN eurontin,on 09/04/12,PlaintiffM alik had

            a chronic illness clinic in which he adm itted to having no neuropathy

            sym ptom sorpain,dueto thedouble dose treatmentplan.

      56.     Stillnotsuffering from neuropathy,M alik'streatm entchanged again on

            9/28/12,when itw as related to him thatto save the costofN eurontin,on

            October      2012, his treatm ent would change to a pain m edication

            treatm entofU ltrom tw ice daily.
               Dr.Reddick was in directcontactwith Everglades C.l.practitionersand

            especially CHO Balm ir,organizing less expensive methods in which to

            treat the Plaintiffs ongoing neuropathy conditions and pailz, but none

            worked as w ell as 300 mg of N eurontin tw ice daily,as proven by his

             m edicalrecords outlining the Plaintiff s m any m edicalvisits.

      58.      ln sum m ary of D r. Reddick's actions, w hich w ere unlaw ful and/or

             unconstitutional,and that Defendant Conn knew w ould take place, but

             failed to stop those events; in 20 13 from January lSt through A pril

             during allperiods oftim e when M alik received Ultrom orN eurontin twice

             daily,the Plaintiff had no neuropathy complications,excepton 05/19/13,

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            when he w as taking Ultrom tw ice daily.The combinations of either/or
            N eurontin/ U ltrom tw ice daily w orked to control Plaintiff s stlffering,but

            both m edications taken tw ice daily together m ade Plaintiffs neuropathy

            W OrSe.

      59.     Betw ven 3/19/13 and 4/19/13,when M alik received Neurontin twice

            daily;and 4/01/13 and 4/19/13,when he also received Ultrom tw ice daily,

            on 4/01/13 and 4/l1/13 the Plaintiffhad neuropathy injuriesso bad,with
            very severe painsthaton 4/l9/l3,he wastaken offofboth N eurontin and

            Ultrom and for four m onthshegotno drug exception m edication.

                                       c)Dr.Hosseini
      60.      M alik w as allowed to suffer those four m onths with only Naproxin to

             lessen hispains.Even though N eurontin wasrequested threetilnesin those

             fourm onths;5/29/13,6/6/13,and 6/11/13,the requestsforNetlrontin were

             refused allthree times by Dr.Hosseini,with Dr.Hosseinirecom mending

             thatthe Plaintiffbe treated w ith Elavilon 6/7/13.

      61.      Through the rem ainder ofthe year,M alik gotU ltrom in al1of August

             and Elavil from 9/23/13 through 11/30/13 and again 12/12/13 through

             12/22/13.

       62.      ln receiving no requested neuropathy m edication in four m onths,to

             receiving inadequate Elavil;from 04/01/13 through to the end ofthe year,

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          Conn's cost-saving policy caused the Plaintiff to suffer greatly,having

            severe pain as indicated in his going to medical 18 tim es for neuropathy

            conditions and pain:4/1/13;4/l1/13;5/13/13;5/21/13;5/29/13;6/11/13;

            7/11/13; 7/17/13; 8/1/13; 8/8/13; 8/13/13; 8/19/13; 9/4/13; 9/17/13;

            9/19/13;10/17/13;11/17/13;and l1/20/13;while helping Hosseinito eam

            hisreward,becausehiscostsaving action in conjunction with Conn'scost-
            saving policy saved W exford and D .O.C.3.9 m illion dollars in business

            expenses,partofwhich wasatthe expenseofM alik'ssuffering.

      63.     During January 1,2014 through October l7,2014,the Plaintiffwentto

            medical25timesforvel'y painfulneuropathy injuries,causeby inadequate

            m edicaltreatm ent.
      64.      Very rarely,if ever,did the Plaintiff go even one single day without

             some sortofneuropathy symptom s and pain,needlesslysin thatnotonce

             during this entire tim e was M alik prescribed N eurontin to dealw ith his
             suffering.N eurontin was the only drug thatseem ed to work m ostofthe

             time,butbecause ofits expense,CEO Conn refused to allow prisonersto

             receive itin allof2014.M alik,asw ellasa11prison inm ates i11Region IV

             were m ade to sufferbecause ofthe costofNeurontin,explained to him by

             Dr.O rtega.
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     65.      Plaintiff M alik wentto m edical in 2014 suffeling pain and neuropathy

            injuries because of the actions of Reddick and his subordinates, that
            approved and disapproved drugsin hisbehalf,asa m easure to please CEO

            Conn by conform ing to hiscost-saving policy.

      66.     Itw as discovered in Augustof2013,while Plaintifftook only the pain

            medication Ultrom twice daily (a.m. and p.m .) that the Tramadol
            medication (50 mg),while working betterthan Elavil,stilldid notcontrol
            Plaintiffsacuteneuropathy northepain associated with it.

              Even so,asa costsaving m edication,Dr.Reddick approved Ultrom over

            N eurontin know ing the pain and suffering that he literally caused the

            Plaintiff by his actions. Dr.Reddick purposely chose to cause Plaintiff

            M alik to suffer,justso hecould save some ofW exford and D.O.C.'scost
            ofdoing theirmedicalbusiness.

      68.      From January       2014 through April l2,2014 (4 months) Plaintiff
             M alik was approved to be treated with Elavil,thatdid notw ork to control

            his neuropathy,but it w as inexpensive to use:and because of its use,he

             suffered greatly,going to m edicaleleven tim es;1/14/14;1/21/14;1/22/14;

             2/19/14;2/20/14;3/17/14;3/l8/14;3/27/14;4/3/14;4/10/14;and 4/11/14,

             w ith severe pain.




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      69.     From 4/15/14 through 9/l3/14,while receiving the inexpensive Ultrom

            treatm ent, approved by Conn's RegionalM edical D irector;the Plaintiff

            w ent to m edical 14 tim es for neuropathy related sym ptom s and pain:

            5/1/14; 5/20/14; 5/22/14; 5/23/14; 6/12/14; 6/25/14; 6/26/14; 7/3/14;

            7/24/14;8/18/14;9/2/14;9/23/14;and 10/09/14.

      70.     This is the extent of the evidence against DanielL. Conn; David J.

            Reddick;and Seyed Hosseini.

                                     (COUNT 111)
                                      H epatitis-c

                     AsfarasDefendantsBalm ir,Louissaint,Ortega,
                  and Gaxiola,here isabriefsum m ary oftheirviolations.

              In the tim e ofthis lawsuit,the Plaintiffwentto m edicaloverl09 tim es,

            usually seeing Dr.Balm ir,ARNP Louissaint,Dr.Ortega,or in 20l4,Dr.

            G axiola.
      72.      In allthattim e,and on numerous occasions,allfour Defendants knew

            thatPlaintiffM alik had Hepatitis-c,so noted in hism edicalcharts;butnot

            once did any of the D efendants order Hepatitis-c treatm ent for the

            Plaintiff, even though m any, many he complained about symptom s,

            purposely diagnosed asneuropathy;justso thedisease did nothaveto be
             dealt w ith; w hen these sam e sym ptom s and pain could have been

             H epatitis-c related.

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     73.      Because of the very expensive cost of treating, Hepatitis-c w as

            prohibitive to D efendant Conn's cost policy;the sym ptom s of the disease

            was diagnosed as being anything else (neuropathy)              avoid the
            expenditureoftreating thediseasew ith adequate Hepatitis-c treatment.

                                         Y EAR:2010

      74.     To be specific in dealing with the Defendants,atleast3 tim es in 2010,

            Dr.Balmirordered lab tests,where the results indicated by A ST and A LT

            readings that the Plaintiffs Hepatitis-c was out of control and needed

            treatment:01/01/10;09/09/10;and 12/28/2010.Dr.Balm irw as also aw are

            thatthe testresultsofPlaintiffordered July of2009 had SGOT (AST at
            78)and SGPT (ALT at137),both overtwice ashigh asnormal,showing

            thatPlaintiffsHepatitis-c needed treatm ent.

               D r.O rtega picked up the testresults in all3 instances,giving reason to

            know of the Hepatitis-c sym ptom results being high before he signed for

            the reports,know ing by glancing overthe lab sheets thatPlaintiff s HCV

             needed treatm ent.
      76.      Chronic illness clinics,which ARNP Louissaint was in controlof for

             June 5,2010 and 9/15/2010,show thaton these datesthatshe too w asfully

             aware thatthe Plaintiffhad Hepatitis-c needing treatm ent,because itand

             its testresults w ere listed in the SiC IC ''charts.

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                                      YEAR:7.911
              Seven tim es in 20l1, Defendant Louissaint knew that M alik had

            Hepatitis-c thatneeded treatm ent;twice when she received the results of

            his1ab teststhatsheordered (06/22/11and 10/19/11);threetimesso noted
            in hischronic illness clinics (01/06/1l,04/06/1l,and 08/01/l1)with the
            :CCIC''in January and August retlecting Plaintiffs H epatitis to be outof

            control;and twice in tilling out Drug Exception Requests,she statesthat

            M alik has H CV on 01/06/11 and 04/06/11.

      78.     D r. O rtega signed for Plaintiff s lab reports on 10/20/11,show ing that

            on thatdatethatheknew M alik'sHCV needed treatm ent.

                                       YEAR:2012

      79.     O n 04/18/12. Dr.B alm ir knew by M alik's 1ab reports that he ordered

            and received,as did Dr.Ortega in signing and picking up the results for

            CHO Balmir, that the Plaintiffs Hepatitis-c was out of control and

            required treatm ent.
      80.      D r. Ortega's referral of M alik to a neurologist specialist on 3/15/12,

             show s that on that date, w here Dr. O rtega lists the Plaintiff as having

             HCV +,w ith the + signifying outof control Dr.Ortega knew thatH epatitis

             required treatm ent.



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             The + in H CV + indicates H epatitis out of control. Chronic lllness

           Clinics held by A RNP Louissaint on 11/26/12, 4/27/12, 9/4/12, and

           show ing H CV + on their charts,show ed that on a1l three of those dates

           D efendant Louissaint knew that M alik's H epatitis required treated

           m edically.

                                     Y EA R :2013

     82.     ln 2013,D r.O rtega knew that Plaintiff M alik had H C V+ that required

           treatm entby the resultsofthe 1ab testhepicked up on 5/28/13 and 9/28/13.

           He show ed, by the Drug Exception Request on 1/2/13, that M alik had

           Hepatitis-c needing treatm entby signifying itwith H CVA.

     83.     By the D rug Exception Requestthathe w as responsible for,D r.B alm ir,

           on 3/l5/l3,showed with the sym bolHCV,thathe knew thatthe Plaintiff

           had H epatitis.

     84.     ltis certain that D efendantLouissaintknew ,by her indication ofH CV -I-

           thaton 2/11/13,5/28/13,and 6/6/13,filed in herDrug Exception Requests,

           that M alik had H epatitis requiring treatm ent,as w as true in the Chronic

           lllness Clinics that she was responsible for on 2/11/13, 6/11/13, and

           l0/l7/13.




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                                      Y EA R:2014

     85.     There are four dates in 2014 that show s that D r. O rtega or A RN P

           Louissaintknew thatthe Plaintiff had H epatitis-c .A 1lfour w here Chronic

           lllness Clinics, on 2/20/14 and 5/23/14, Defendant Louissaint was

           responsible for the clinics. On 8/18/14 and 9/2/14, Dr. Ortega was in

           charge ofthe clinics.

     86.     Itwas on 9/2/14 thatDr.Ortega confessed to the Plaintiffthe factthat

           M alik never had treatm ent for Hepatitis-c at E.C.l.,nor did any other

           inmate. Everglades C.1.was notequipped to treatthe disease and never

           w as,according to O rtega.Treatm entw astoo expensive.

             The pointis that Plaintiff M alik suffered from constipation;notbeing

           ableto urinate (both painfulattimesl;pain in hisvariousbodyjoints(feet,
           knees,ankles,shouldersand back),sometimes moderate,butmostofthe
           tim e itw as so severe that M alik could not focus on anything else;bilateral

           edem a in both his legs and feet;and rashesa1loverhis body.

     88.     A llofthese sym ptom s can be H CV + related and seem to be m ore acute

           w hen Plaintiff s A ST and ALT levels w ere attheirhighest.

     89.     Som e of these sym ptom s are attested to as being strictly H epatitis-c

           related on the M ayo C linic's w ebsite at w w w -m ayoclinic-org/diseases-
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            conditions/llepatitis-c (consisting ofbasic informative information,that
            thePlaintifffoundoutforthetirsttimeon 10/24/14 atSantaRosaC.l.).
     90.      Had PlaintiffM alik known previously,w hen he was tsrstdiagnosed as

            having Hepatitis-c;orup through the years (2010,20l1,2012,2013
            20l4)thatthevery symptomsand pain thatheexperienced and when were
            diagnosed as neuropathy, over the years, could also have been H CV +

        .   related as w ell;on tsnding thathis neuropathy treatm entw asn'tw orking to

            elim inate his suffering once-for-alltim es;and m aking his sufferoverand

            over again; M alik w ould have dem anded to be treated adequately for

            H epatitis-c .

     9 1.     Instead,m edical staff,to conform to CEO Conn's cost-saving policy

            (fortherecouldbenootherfeasiblereasontopunishthePlaintiffoverand
            over again with severe suffering of injury and pain),neverbothered to
            enlighten M alik in any w ay as to this very dangerous, life threatening

            disease,in such a w ay as to give him a choice to be treated.

     92.      N ot once,over a1l that tim e, w as he treated for H epatitis, nor w as he

            advised oftreatm ent.

     93.      M alik suffered with pain and injury needlessly foryearsand each ofthe
            D efendants knew the substantial harm they put the Plaintiff in by not




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           inform ing him of their action not to act in treating him for H CV -F',and

           then,treating Plaintiffforthe life threatening disease.

     94.     Instead each Defendant(Balmir,Louissaint,Ortega,and Gaxiola failed
           to inform the Plaintiff ofhis extrem e condition,purposely allow ing M alik

           to suffer needlessly for days,w eeks,m onths,and years;w ithout giving a

           hintofthe slightestidea w hy.

     95.     M alik w as kept in the dark about m any of his neuropathy sym ptom s

           being H epatitis sym ptom s,too,needing treatm entoftheirow n.

     96.     Notonly did the actionsofBalm ir,Louissaint,Ortega,and Gaxiola take

           aw ay Plaintiffs constitutional right to be treated'for a serious m edical

           need,for w hich H epatitis-c is,they also took aw ay his rightto know and

           to choose what treatm ent to accept based on the information about the

           H CV disease.

     97.     Plaintiff was denied his right to have his Hepatitis-c treated simply

           because President and CEO C onn of W exford chose notto pay for H CV +

           treatm entas an unlaw fulw ay to save m oney.

     98.     During the tim e period of this com plaint, M alik w ent to m edical 109

           tim es in w hich som e of w as neuropathy treatm ent, som e H epatitis-c

           related,and som e both.A bout half of those tim es he did not see one of

           the D efendants.

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     99.     The occasions thatthe Plaintiff complained about burning pain during

           his medical visits, he was probably complaining about neuropathy

           sym ptom s.

    100.     W hen he complained aboutpain in hisjoints,M alik was referring to
           H epatitis-c sym ptom s.

    101.     Symptom s like constipation that could be HCV-F related were

           complained abouton:11/12/10;12/1/10;4/6/11;8/1/11;6/16/ll;4/27/12;

           2/1/13;l0/17/13;5/29/13;and 5/23/14.

    l02.     Symptoms ofjointpains which were HCV+ related were complained
           abouton:7/6/10;7/8/10;4/6/11;8/1/10;6/l5/12;7/24/12;8/2/12;2/1/13;

           4/l/13;4/10/l4;with troubleurinating addressed 11/23/1l.

    103.     40 tim es the Plaintiffhad pain in his feet;som etim es the burning pain of

           neuropathy and other tim es, the jointpains ofHepatitis-c,with al1four

           E.C .I.D efendants responsible for som e of the diagnoses and treatm ent in

           eitherofthe scenarios.

    104.     ln 2012,the Plaintiffhad footpainsin hisjoints for nine consecutive
           visits to medical-
                            . 3/15/l2; 4/27/12; 5/17/12; 5/24/l2) 5/31/12; 6/8/12;

           8/2/12;8/13/12;and 9/28/12.

             In 2013, eleven consecutive tim es: 2/1/13; 3/19/13; 4/11/13; 5/29/13;

           7/17/13;8/l3/l3;8/l5/13;8/19/13;and 10/17/13.

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            And in 2014, 10 tim es: 1/14/14; 1/22/14; 2/14/14; 4/10/14; 5/1/14;

          5/20/14;5/22/14;6/12/14;7/24/14;and 10/9/14.

     l05. M alik wentto m edicalforleg pains,1eg rashes,and bilateralleg edema

          l3 consecutive tim es in 2014 w ith 6 visits different than the foot pain

          visits:3/18/14;3/27/14;5/13/14;6/25/14;7/3/14;and 9/23/14.

     106. In closing this issue of H epatitis-c abuse,the Plaintiff concludes that

          D efendants Balm ir, Louissaint, O rtega, and G axiola have acted in

          deliberate indifference to his serious m edical need of having his

          Hepatitis-c,requiring treatm ent,treated;and that they each have show n

          calloused indifference in the many timesthatthey each (and as a whole)
          treated M alik's H epatitis-c sym ptom s as neuropathy,thereby m aking the

          Plaintiffsufferm any tim esneedlessly.

     l07. The D efendants listed in correspondence to the dates are the individuals

          responsibleforM alik'sinjuryandpain orothersufferingson thatdate;and
          the medicalvisitswhere his medicalsym ptom scould have been treated as

          neuropathy,w hen in reality,they w ere H epatitis-c related:

            D efendant Louissaint, 29 m edical visits: 5/3/10; 6/l5/10; 7/8/10;

          9/15/10; 10/19/10; 11/12/10; 1/6/11; 4/6/11; 5/3/11; 8/1/11; 10/28/11;

          1/19/12; 1/26/12; 4/24/12; 5/31/12; 6/18/12; 6/08/12; l1/10/12; 2/1/13;




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          11/l1/13; 5/29/13; 6/11/13; 10/17/13; 1/21/14; 2/20/14; 4/3/14; 5/23/14;

         773/14;and 10/9/14.

            Defendant Balm ir,         m edical visits: 7/6/10; 10/8/11; 11/23/11;

          12/12/11; 1/9/12;2/3/12;3/20/121 9/28/12; 3/19/13,a.m .; 3/19/13,p.m .;

          8/8/13;8/19/13;and 2/19/14.

            Defendant Ortega, 8 times: 3/l5/12; 11/17/13; 3/18/14; 4/10/14;

          5/20/14;5/22/14;8/18/14;and 9/2/14.

            DefendantGaxiola,twice:6/12/14 and 7/24/14.

     l08. ltis also probable thatDr.Ortega and ARN P Louissaint reported each

          m edicalvisitthatthey were responsible fortreating M alik to Dr.Balmirin

          that he w as the C hief H ealth O fficer at E.C.I.during m ostof the tim e this

          suitmaking him knowingly ofany wrong doing thatthey mighthave done.

            These are the facts and dates for w hich this suit is levied against all

          Defendants: President and CEO , Daniel L. Conn; Regional M edical

          D irector,David J.Reddick;CHO Seyed Hosseini;CHO CarlBalm ir;M .D.

          Dr.O rtega;A RN P M aria Louissaint;and C H O D ora G axiola.




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                                 d)Dr.CarlBalmir

                                    (COUNT IV)
                           Neuropathy Pain and Suffering

     109. As to the pain and suffering of Plaintiff M alik;because of inadequate

          treatm ent for w hat Defendants Balm ir, Louissaint,Ortega, and Gaxiola

          determined to be neuropathy,the Plaintiffs m edicalrecords clearly show

          the dates and procedures ofeach D efendant who failed to secure the only

          neuropathy treatm ent that seemed to w ork for the Plaintiff, and the

          suffering such actionscaused.

      l10. Dr.Balm irsaw M alik on 7/6/10,where Plaintiffhad ongoing complaints

          aboutneuropathy symptoms,injuries and pain.Dr.Balmir had personal
          know ledge that from 08/2 1/09 through 04/30/10.M alik's neuropathy w as

          treated with N eurontin 300 m g twicedaily and thatthetreatm entworked to

          controlhis diabetic neuropathy.

             W ith that personal know ledge he also knew from the Plaintiff s past

          medicalrecord (asdid ARNP Louissaintand Dr.Ortega)thatElavildid
          very little to controlthe Plaintiff s severe neuropathy or pain.

      112. Know ing these facts,on 7/6/10,D r.Balm ir saw thatthe Plaintiff was

          receiving Elavil daily, and not N eurontin, which w as the cause of his

          m edical visit, since Elavil did not control the neuropathy disease. But

          instead of changing Plaintiff s treatm ent to N eurontin tw ice daily and
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          insisting that M alik receive the treatment;D r.Balm ir allowed Plaintiffs

          Elavil treatmentto continue and M alik suffered m any tim es with severe

          pain and injuriesalmostdailythroughto01/22/201l.
            By conform ing to CEO Conn's cost-saving policy and continuing the

          cheaper Elavil treatm ent that did not work for M alik's sym ptom s, Dr.

          Balm irpurposely and willfully subjected the Plaintiffto severe sufferings

          w here he went to medical on 7/8/10; 8/5/10; 8/2/10; 8/23/10; 8/11/10;
          9/3/10; 10/19/10; 10/25/10; 12/1/10; 01/06/11; 04/06/1l; 05/03/1l;

          06/14/11; 08/01/1l; and 10/08/11,the date he next saw tlle Plaintiff;

          seeking m edicalreliefforhisneuropathy and severepain.

      114. Each tim e overthe nextfour years thatDr.Balm irtreated the Plaintiff

          for diabetic neuropathy and let an inadequate neuropathy treatm ent

          continue unchanged (Elavil,orsingle dosesofNeurontin,orUltrom),the

           Plaintiffsufferedinjury and severepain.
             On 10/08/11, Dr. Balmir allowed the Elavil treatment to continue

           unchanged and the Plaintiff suffered m any tim es m ore than whatisnoted

           by his medicalvisits which include the following dates of m edicalvisits

           for pain: 10/8/11; l0/31/11; 11/23/11; 12/12/11; 1/9/12; 2/3/12; 3/20/12;

           are dates in which Dr.Balmir saw the Plaintiff for pain and injuries



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         because he failed to orderand insistthatM alik receive Neurontin 300 m g

          tw ice daily.

                 d)Dr.OscarOrtega and M ariaLouissaint,ARNP
     1l6. During thatsame tim e fram e,where the Plaintiffsaw eitherDr.Ortega

          on 3/l5/12;and ARNP Louissaint on 5/03/10;6/l5/10;7/8/10;9/15/10;

          10/19/10; 11/12/10; 1/6/1l; 4/6/11; 5/3/11; 8/1/11; 10/28/11; 1/19/12;

          1/26/12;4/27/12;5/31/12;6/08/12;and 6/18/12;he w entto m edicalvisits

          onthesedatescomplainingofseverepain andneuropathyinjuriesbuteach
          ofthese tw o practitioners stillfailed to change Plaintiff streatmentplan to

          N eurontin twice daily;and M alik suffered greatly because oftheiractions

          (untilARNP Louissaintsucceeded 06/14/12).
      ll7. From 06/18/12 through to April l, 2013, nine m onths of taking

          Neurontin 300 m g twice daily, the Plaintiff went to m edical only two

          tim es, 08/02/12 and 08/14/12; and that was when he was not taking

           Neurontin from 7/31/12 through 8/17/12.

      118. That w as Plaintiff M alik's proof that D efendants B alm irs Louissaint,

           Ortega,G axiola,Conn,Reddick and Hosseiniknew to be true:N eurontin

           300 m g B ID w orked to controlPlaintiff s neuropathy and pain,leaving no

           excuse why M alik should notbe treated with this neuropathy treatment,

           otherthanitcostmoretousethan Elavil(inthedoseneededtowork).

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     l19. Even after the Defendants knew aboutthe great resolution to M alik's

          neuropathy and pain dilem ma; on 04/19/2013,the Plaintiff was denied

          N eurontin and w ould nevergetitagain.

                               e)Dr.DoraGaxiola
      120. M alik saw A RN P Louissaint 4/19/13 and 6/11/13,w ho failed to give

          him any type of neuropathy treatm entplan for 4 m onths;and then after

          that,even seeing Dr.Balm ir, 8/8/13;and 2/19/14; Louissaillt 10/17/13;

          1/22/14;2/20/14;4/3/14; 5/23/14;7/3/14;and 10/9/14;Ortega l1/17/13;

          3/l8/14; 4/10/14; 5/20/14; 5/22/14; 8/18/14; and 9/2/14; and Gaxiola

          6/l2/l4; and 7/24/14;for neuropathy pai
                                                n    and injuries,Plaintiff never
          again received two doses of Neurontin 300 m g daily,and because ofthe

          actions of D efendants Balm ir, Louissaint,Ortega, and Gaxiola, M alik
          suffered severely for over 17 months of tortuous,som etim es unbearable

          pain.
      121. Plaintiff went to medical to have his neuropathy and pain treated

           5/2l/13, 5/29/13, 6/11/13, 7/11/13, 7/17/13, 8/1/13, 8/8/13, 8/13/13,
           8/l9/13,9/4/13,9/17/13,9/19/13, 10/17/13, 11/17/13, 11/20/13, 1/14/14,

           l/21/14, 1/22/14, 2/19/14, 2/20/14, 3/17/14, 3/18/14, 3/27/14, 4/3/14,

           4/10/14, 4/11/14, 4/15/14, 5/1/14, 5/20/14, 5/28/14, 5/23/14, 6/12/14,

           6/25/14,6/26/14,7/3/14,7/24/14,8/l8/14,9/2/14,9/23/14,and 10/09/14:

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         40 times in the next 17 m onths, where each tim e the neuropathy was

         treated with inferiorm edicaltreatmentbecause itw ascheaperthan treating

          him with N eurontin 300 m g twice daily;and PlaintiffM alik suffered more

          than any person should haveto eversuffer.

   V. Injuries
        ThePlaintiffreceived many differentinjuriesand much severand moderate
   pain explained throughoutSection lV ,paragraphs tIA''and $tB''during the four

   year ongoing period thatthe lawsuitis about.The injuries were associated with

   neuropathy symptom s and untreated Hepatitis-c+ symptom s,nottreated form ore

   than fouryears.

   V I. Relief
         ForDefendants'deliberate indit-ferenceto Plaintiffsseriousm edicalneed of

   being treated adequately forboth neuropathy and Hepatitis-c and forthe suffering

   of long periods of injury and pain and mentalanguish because of inadequate
   treatmentofboth diseases,wherefore the PlaintiffrequeststhisH onorableCourtto

   enterjudgmentandgranthim thebelow amounts:
       l. $500,000.* from cEO DanielL.Conn forthe pa14 he played in the injury
         and suffering caused PlaintiffM alik;

      2. $500,000.* from M edicalDirectorDavid J.Reddick

          $200 000.* from Dr.Seyed Hosseini;

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     4. $500,000.
                P-Q from each ofthe other defendants:Dr.CarlBalm ir,Dr.Dora

        Gaxiola,Dr.OscarOrtegaand ARNP M aria Louissaint;

     5. Defendantin Line One isbeing sued in hisSupervisory capacity'
                                                                    ,

     6. Therestofthe Defendantsarebeing sued in theirindividualcapacity;

     7 The Plaintiffalso prays this Courtforpunitive dam agesof$300,000.* from

        DefendantsConn Reddick,Balm ir,Ortega,and Louissainty> c: .
                          ,


      8. Orwhateveram ountsthatPlaintiffprovesin Courtthathedeselwes.

   V lI. Exhaustion ofA dm inistrative R em edies,A dm inistrative Procedures

      A .Plaintifpsclaim arose while he was confsned in a prison.The nam e ofthat

         prison isEvergladesCorrectionalInstitution.

      B.EvergladesC.I.had a grievanceprocedurewhich Plaintiffcompleted.

      C.Plaintiffsgrievance covered al1ofhisclaim satthe institutionallevel.

            1. lnadequate medicaltreatm entfordiabeticneuropathy and Hepatitis-c .

            2. Pain and suffering.

            3.Ongoing injuries, pain and mental anguish due to inadequate

               treatm ent.

      D.The Plaintifftiled grievances where the instantclaim s arose concem ing the

         facts relating to this com plaint.

       E.l.A1lformaland inform algrievancesw erefiled atEvergladesC.l.




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        2.From M arch 5,2012 through September 25,2014,the Plaintiff tsled 24

           grievances claim ing inadequate medical treatm ent,which caused him

           pain andinjury,so listedin thefollowing'
                                                  .
                         Section V ll,Paragraph EEE''2 lists
                        2lofthe m ostim portantgrievances

                                       2012

          Grievance        1010-401-12l; Filed 10-16-10.
                                                       , Answ ered 10-28-10;

          grieved being given wrong m edication, constant pain, uncontrolled

          diabetes,and neuropathy'
                                 ,Result'
                                        .denied; Respondent: LPN Finese;and

          Reason'
                .scheduled to see providersoon.

      2. ADA Complaint dated: 3-5-12,
                                    . answ ered'
                                               . 3-12-12,
                                                        . grieved ennergency

          issue of not being treated for serious m edical needs dealing with

          neuropathy,diabetes,and H epatitis-c;result:denied,stating thatPlaintiff

          M alik wasnotimpaired (even though theADA speciscally listsdiabetes

          asimpairmentdeservingADA response).
           Grievance N o.: 1203-401-017.
                                       ,Sent:3-5-12'
                                                   ,Answered'
                                                            .3-12-12,
                                                                    .grieved

           severepain caused by diabetes neuropathy'
                                                   .swollen feet,ankles,raw sores,

           and trying to see a specialist since 6-10-10, w ithout ever seeing one;

           Results'
                  .grievance approved by D r.Balm ir.

           Grievance N o.:1206-401-054*
                                      ,Sent:6-l8-12,
                                                   *Answ ered'
                                                             .6-29-12,
                                                                     'grieved

           thatalthough Plaintiffs m edicalissues ofneuropathy sym ptoms,diabetes
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         and pain were formally addressed by Dr.Balmirand approved on 3-12-12,

          Plaintiffhad yetto see a doctorspecializing in hisconcerns.PlaintiffM alik

          grieved that by D r. Balm irand medicalstaffs failure to act,he was still

          suffering from neuropathy injuries that caused him severe pain daily;
          Results:Dr.Balmirconcursthatbetween 3/15/12 and 6/8/12,the Plaintiff
          saw a doctor 5 tim es,butneverthe specialistthathe asked to see in his

          approved grievance.Dr.Balm ir also asserts that on each visithis issues

          w ere addressed and a plan for treatm ent w as put into place.W hat Dr.

          Balm ir does not attest to is the sam e inadequate treatm ent plan as the

          previousvisit,w hich leftthe Plaintiffsuffering.

          Grievance No.: 1210-401-216,
                                     . Sent. 10-02-12,
                                                     . Answered'
                                                               . 10-15-12.
                                                                         ,

          grieved m edicalstaffsfailureto treatPlaintifpsm edicalneeds,stating that

          allofhis sym ptom s have gotten worse.He states that3 timeshe wassent

          to South Florida Reception Centerto see a specialist,buteach tim e E.C.l.'s

           m edicalstafffailed to send hism edicalrecord so thatthe Plaintiffcould be

           treated and consequentto thathisdiabetesand neuropathy (including pain
           has gotten worse); Result: denied without addressing the issue of the

           grievance;B y:D r.Balm ir.

           G rievance A ppeal N o.: 12-6-36191; Sent: 11-5-12; A nsw ered: 12-11-12;

           the Plaintiff w rote tw o pages appealing the opinion of 12 10-401-2 l6;


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         (specifcally pain);(soreson feetandlegs);Results:once againF.D.O.C.'S
         response is a denial com pletely irrelevant to the Plaintiff's appealed

          complaints involving around the consultation on 10/16/12 with a diabetic

          specialist and not refening in any way to a neuropathy or Hepatitis-c

          specialist.
     7. Grievance No.: 1306-401-044,
                                   , Sent: 6-10-13,
                                                  . Answered'
                                                            . 6-18-12,
                                                                     *

          Emergency grievance grieving neuropathy and diabetes conditions,denial

          oftreatm ent,pain for over tw o m onths w ithoutproper m edicine;Results:

          Plaintiffsenthisgrievance and itwasreceived stam ped June l0,2013,
                                                                           .on

          6-11-l3,he was seen in a Chronic IllnessClinic and the grievance issues

          were addressed.Consequently to this,hisgrievance wasdenied by Balm ir.

      8. Grievance N o.: 1307-401-242,
                                     . Sent: 07-30-13; Answered: 08-08-13,
                                                                         *

          Emergency grievance addressing m edicalstaffs depriving him of proper

           medicaltreatment:1)nodiabetesinsulin in9 days- dizzy and confused,2)
           neuropathy intensepain al1day long,3)aspirin inplaceofpainmedication

           that he was prescribed and 4) sick callrefuses to respond to his listed
           issues;Result:approvedwithoutindication astowhatwasto bedone.(Dr.

           Balmir)
           Grievance No.: 1309-401-148-
                                      ,Sent:9-19-13.
                                                   ,Answered'
                                                            . 10-3-13,
                                                                     .3 page

           grievance addressing W exford's ignoring deliberately hisongoing m edical

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         issues which caused them to worsen to the pointof being unbearable:

         failure to respond to docum ents and orders approved by Dr.Balm ir or
          ARNP Louissaint,severe pain,circulation stockings,and ankle and knee

          braces;blood pressure needs;ignoring cries for specialist(professional)
          help;neuropathy injuries(sores)and severe pain;footand leg ulcers;1eg
          and footswelling;rashes;num bness;etc.;Result:denied stating thatthese

          issueswere discussed on 9-19-13.
                                         ,thisdiscussion w ithoutaction isthe very

          reason forPl4intiffsgrievancesentthatsameday (9-19-13),denied by Dr.

          Balm ir.
      10. Grievance No.:1402-401-050;Sent:2-3-14.
                                                ,A nswered'
                                                          .2-13-14.
                                                                  ,grieved

          specifically the medicaltreatm entby A RNP Louissaint,in which Plaintiff

          w ent on sick call twice in regards to swollen feet and pain,where his

          injuries were disregarded to the extent that no medicaltreatmentwas
                          .returned without action on the basis thatthe Plaintiff
          provided;Results'
          w ould be seeing ûçM rs.Louissaint soon.''Returned by T .V eargis,A dm in.

           A sst.E.C .I.
           GrievanceN o.:1402-401-052,
                                     .Sent:2-09-14,
                                                  .Answered'
                                                           .2-21-14.
                                                                   ,grieving

           inadequate m edical treatm ent based on Plaintiff s religious beliefs

           (M uslim),regarding comments from Balmir,Louissaintand Nurse Rowe
           forbeing M uslim and using hisreligiousbeliefs as a m eansto refuse him


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         medication and medicaltreatment(especially forsevere chronicpain),as
         well as refusing to give him outside specialist consultations so that his

         m edicalconditionscan be correctly diagnosed and cared forby an expert,

          asa meansto elim inatehispain and suffering;Result:denied by theperson

          he grieved (Dr.Balmir),because he was prescribed pain medication 10
          daysaftersending grievance;scheduled to see A RNP Louissaintatchronic

          clinic.(decision appealed# 14-6-07508)
      12. Grievance Appeal No.: 14-6-07508,
                                          * Sent:2-26-14.
                                                        , Answered'
                                                                  . 5-22-14,
                                                                           .

          Plaintiffgrieved Dr.Balm ir'sresponse to grievance no.:1402-401-052,in

          that unlike the response's suggestion of receiving adequate medical

          treatment,Plaintiff asserts thathis medicaltreatm ent was so insufficient

          that it caused him injury,pain,depression, and m uch mental anguish
          shown by the m any timesthathe was forced to visitm entalhealth.Thisis

          im portant.
            As with most grievance appeals (which makes most inmates feelthat

           appealsareawasteoftime)theRespondenttotheappealissocalloused as
           to inmates issues that a decision at the institutionallevelis very seldom

           (one-in-one hundred or worse) ever overturned,as in the instantcase.
           lnstead,the Plaintiff,like alm ost al1 other inm ate grievers,received the

           same response:by therecordsprovided to the appellateoffice(only these

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         which the medicalinstitution staffwishesto be reviewed (never allyour

         records),yourappealisalwaysdenied).
           kilt is the responsibility of you health care staff to determine the

          appropriate treatment regimen...'' in F.D.O.C.,just because you see a
          physician does notm ean that you receive adequate treatm ent,especially

          since D ept. of Corr. condones m edical cost-saving practices. Appeal

          denied:Ebony 0 .Harvey,IISC.
      13. Grievance No.:1403-401-042,
                                    .Sent:3-3-14,
                                                *Answ ered'
                                                          .3-20-14,
                                                                  .Plaintiff

          grieved that although he went on sick-call on 02/19/14 and Dr.Balmir

          prescribed him Ultrom painm edication(when giventwicedaily,workedin
          controlling his neuropathy symptoms, especially pain), and it was
          corroborated as being prescribed ,by A RN P Louissaint's assessm entofthe

          action for tw ice daily;that in reality itwas prescribed on 02-19-14,and

          corroborated on 02-20-14, but m edical records plainly show that Dr.

           Balmir's prescription on 02-19/14 was disapproved by Christine for Dr.

           Reddick,and up through the tim e ofhisgrievance (3-3-14),the Plaintiff

                                               . Dr.Ortega returned the grievance
           received no pain m edication.Results'

           w ithoutaction citing the bogus ordealof the prescribed U ltrom that never

           was received;and then stating the factthatbecause the Plaintiffwenton

           em ergency m edical call for pain; and w as seen by D r. O rtega, for


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         Plaintiffsvel.
                      y severepain (3/17/14 and3/18/14),and prescribedNaproxin
         (an over-the-counter pain reliever),his complaint was unfounded, and
         returned without action.ln essence,the grievance w as,indeed,founded

         w ith the Plaintiffforced to endure pain fora long period oftim e and then,

          upon grieving the situation,he was prescribed an inadequate pain reliever

          (Naproxin),thatin comparison to Ultrom is like putting a band-aid on a
          surgery incision and calling itstitches.The inadequate treatlnent of Dr.

          Ortega towards Plaintiffs severe pain was no m ore than whitewashing a

          bad situation to seem adequate,when in essence,itwaslikeno treatm entat

          all,because ofD r.O rtega's response to this grievance the Plaintiffsuffered

          even m ore from pain.
      l4. Grievance N o.:1403-401-158;Sent:3-18-14,
                                                  .Answered.
                                                           .4-3-14,
                                                                  -Plaintiff

          grieves the fact that on 2-19-l4,before Dr.Balmir prescribed him the

           disapproved Ultrom ;he saw Nurse Jenin H ill and discussed the situation

           w ith her in her medicalstaffoffce and was assured by herthatallof his

           m edicalproblem s w ould be taken care of,but they w eren't;R esult: the
           grievance w as answ ered by T .V eargis that the Plaintiff w ould soon be

           seenbyM s.Hill(approved).
       l5. GrievanceN o.:1405-401-177,
                                     *Sent:5-l4-14,
                                                  .Answered'
                                                           .5-16-14.
                                                                   ,grieving

           the same mediealconditionsofmedicalinjuriesand pain from asfarback

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         asFebruary 3,2014 and the factthathistreatmenthasbeen so inadequate,

         so asto constitute no treatm entatall.Result:approved - willsee provider

         SO0n.

          Grievance No.:1405-401-234;Sent:5-20-14,
                                                 .A nswered'
                                                           .5-23-14;grieving

          A RNP Louissaint's actions in his behalf being so bad as to cause his

          sicknessesandpainto getso worseand so severe(rçspectively)thathecan
          no longer focus on ksanything,anymore.'' Result: retum ed denied (by

          unidentifed script), because he was seen the day the grievance was
          responded to,and his problem s w ere said to be taken care of,Plaintiff

          received Ultrom tw icedaily for30 days.
          Grievance N o.:1407-401-117,
                                     *Sent:7-21-14,
                                                  .Answ ered'
                                                            .8-7-14.
                                                                   ,grieved

          actions ofNurse Ricky Rowe's inadequate medicaltreatm entdealing w ith

          pain and chestcold.Result:denied.
      18. Grievance No.:1407-401-127;Sent:7-21-14,
                                                 .Answered'
                                                          .8-7-14*
                                                                 ,Plaintiff

          grieved the factthatfortsve years,from when he wasdiagnosed ashaving

          Hepatitis-c in 2009,he had notbeen treated in any w ay for the serious

           m edical needs involving the disease,which he com plains have already

           caused a medical breakdown of his body deteriorating. Plaintiff simply

           asks for Hepatitis treatm ent with the proper medication. Results: Dr.




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         G axiola denied him Hepatitistreatm entsaying thatsoon he would be seen

          in aChronic lllnessClinic and to raise the issue then.

          G rievance N o.: 1408-401-070.
                                       , Sent: 08-21-14,
                                                       - A nsw ered'
                                                                   . 09-02-14,
                                                                             .

          grieving thatpm 08-18-14,he wasseen by Dr.Ortega during his Chronic

          lllnessClinic,where he broughtup the issuesofhis leg and feetswelling,

          w idespread body rashes and concenas about H epatitis-c .Plaintiff grieves

          thatnone ofthese conditionswere treated and quoted Dr.Ortega as saying

          that Hepatitis-c is not ever treated at E.C.1., and that any assertion by

          anyone thatthe Plaintiffhad received itl-lep C''treatm ent in the pastwas

          erroneous.Plaintiff simply asks to be seen by a physician to address his

          chronic swelling,rashes and Hepatitis-c disease thatDr.Ortega refused to

          treat;Results'
                       .denied by Dr.Gaxiola.

      20. G rievance N o.: 1409-401-075,
                                       .Sent:9-l8-14.
                                                    ,A nsw ered'
                                                               .9-26-14,
                                                                       .grieves

           the fact that the Plaintiff saw D r.O rtega in consultation about his m any

           m edicalconditions on Septem ber 2,2014 and in the outcom e ofthe visit,

           the Plaintiffwas allow ed to give the doctora card expressing hisconcerns

           in which Dr.Ortega said he would respond in writing and return to the

           Plaintiff.The questions w ere those w hich D r.Ortega did not have tim e to

           answ er or that he did nothave tim e to answer in their entirety,such as

           BuN/creatinine levels,AST.ALT levels,skin lesions,pain lnanagem ent

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                           and treatm ent plan for his Hepatitis-c disease;none of which was ever
                           done and the Plaintiff grieved.Dr.Ortega's prognosis was supposed to

                           lead to a know ledgeable treatm ent plan for Plaintiffs m any m edical

                           conditions, oveniding any, then, existing determ inations, and new

                           medication forH CV -Fwasto be prescribed.ltneverhappened.Result:the

                           grievance wasdenied by Dr.Gaxiola.
                       21. O n Septem ber 25,20 14,as a failsafe of his m any m edical concerns that

                           were never adequately addressed or cared for by E.C.l.'s m edical staff,

                           FDO C,       the W arden of Everglades C .1., the Plaintiff lettered the

                           RegionalM edicalDirector(employedbyW exford and anagentofFDOC),
                            Dr. Reddick about his deteriorating condition, and even lnoreso, the

                            lacking of adequate m edical treatm ent. Result: the letter was never

                            responded to.

                            (ThesearePlaintiffsTop 21GrievancesandResponses)

                    V IIl. Previous Law suits
                       A .To the bestofhis knowledge,the Plaintiffstatesthathe hasnothad a case

                          dism issed based on the dt-l-hree Strike Rule.''

                        B.Plaintiff has not filed otherlaw suits in state orfederalcourtdealing w ith the

                           sam e factsinvolved in thisaction.



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                            C.The Plaintiff has filed no otherlawsuits in state orfederalcourtotherwise

                               relating to the conditionsofhisim prisonm ent.



                      IX . Certifcation and Closing

                                  A.Dateofsigning:               #- 2 S -           ,2016
                                       signature of-plaintiff:
                                       printed nam e ofPlaintiff:Naiib M alik
                                       Prison ldentification #:X41699
                                       Prison address:Santa Rosa Correctionallnstitution
                                                      5850 EastM ilton R oad
                                                      M iltonsFlorida 32583-7914

                                   B .U nnotarized O ath
                                I DEC LARE UNDER TH E PENALTY O F PERJURY, that the

                           foregoing amended complaintistrue and correct.

                           Executed:             #-25 ,2016                        /s>
                                                                                          Najl alikX41699

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